 

Case Ol-OllSQ-KG Doc 33068 Filed 10/16/18 Page 1 of 2

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re

Chapter 11

W.R. Grace & Co., et al., Case No. 01-01139 (KG)
Reorganized Debtors.
Tracie Barnes,

Movant,

v. Contested Matter

Re D.I. 33065
Maryland Casualty Company,

`./\-/\-/\_/\./\./\_/V\/ `/VV\./\-/

Cross-Movant.

ORDER REASSIGNING CONTESTED MATTER

The captioned contested matter presents issues that are intertwined With cases the
Court previously reassigned from ]udge Kevin Gross to ]udge Kevin ]. Carey. See Order
Reassigning Contested Matter and Adversary Proceedings, D.I. 33053. The reassigned
adversary proceedings are: Continental Casualty Company z). Carr, Adv. No. 15-50766, and
Barbara I-Iunt, Persomzl Representative for the Estate of Robert ]. Hunt, deceased and Sue C.
O’Neill z). Maryland Casualt~y Company, AdV. No. 18-50402. The reassigned contested
matter arose in In re WR. Gmce 55 Co., et al., Chapter 11 case No. 01-1139, in Which
Maryland Casualty Company seeks to enforce the channeling injunction against Rose

Roberts, as Personal Representative of the Estate of ]ames W. Roberts, deceased. D.I.

32999.

Case Ol-OllSQ-KG Doc 33068 Filed 10/16/18 Page 2 of 2

In the interests of judicial economy and decision-making consistency, the

captioned contested matter is reassigned to ]udge Kevin ]. Carey. SO ORDERED.

Dated; october 16, 2018 U§M/-\

CHRISTOPHER S. SONTCHI, CHIEF ]UDGE
UNITED STATES BANKRUPTCY COURT

 

